Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 1of15

COURT OF THE DISTRICT OF COLUMBIA, UNITED STATES OF NORTH AMERICA
CR. No. 03-331-13
CR. No. 03- 331-14

ELIO ELIXANDER LORENZANA CORDON, through his defense attorney, appears before
the Honorable Judge Collen Kollar-Kotelly, United States District Judge, to present
MOTION, to reexamine the statements made before the JURY, and which led to a

statement of guilt against me.
[EXPOSE

1.- The Honorable Judge, has given me the opportunity to express my disagreement
with the testimonies exposed to the Jury, which led to the conclusion that my person
participated in the commission of Illicit offenses punishable by the United States of

North America. -

| will refer to the steps that led my country to grant my extradition to be tried in this

country.

In criminal case 03-331 filed on March 10, 2009, the Court of the District of Columbia
filed an accusation on the charge of Conspiracy to distribute a controlled substance
with the intention or knowledge that said substance would be imported into the
United States. In violation of United States Code 21, Section 959 and 963, this order
was known to the Honorable John M. Facciola, District Judge of the United States of
the District of Columbia, in which probable cause was established to believe that it

was responsible for the crime for which | am accused. EXHIBIT

of

tabbies*

    
 

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 2 of 15

The Drug Control Office initiates an investigation and states that approximately in
June 1999, the investigation of the organization HERRERA GARCIA, which supposedly
was operating in Guatemala, began at the end of 1990. Having identified OTTO
HERRERA GARCIA, as Leader of this organization, identifying Guillermo Herrera Garcia

as Logistics Coordinator of that organization.

This investigation exposes that Herrera Garcia, hires other people for the drug
transport within the Republic of Guatemala, and establish a period of time between

1990 until at least 2003.

In this sense, the State of Guatemala signed an extradition treaty signed in 1903,
which entered into force on August 15, 1903, this treaty was amended by the

Supplementary Convention signed on February 20, 1940 and entered into force on
March 13, 1941, this is the legal basis to be able to request the extradition of my

person, this is how after carrying the

respective procedure, my country gave me to the United States of North America, so
that this country would judge me, and within the parameters set by this treaty are
also clear when | say that | should be judged under the parameters for which | was
requested in extradition. And that at no time can | be tried for other crimes for which

| was not given extradition.

| refer to the order issued by the Third Court of Criminal Sentencing, Drug Trafficking
and Crimes against the Environment, of the Republic of Guatemala, dated February

17, two thousand and twelve

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 3 of 15

In this order the judge states that the acts attributed to me occur between the year
1999 until at least 2003, which was the request made by the United States of
America, and my extradition is granted under the request of the United States of
North America, and it is for the crime of Delictive Assosiation as to import five or
more kilograms of cocaine to the United States, and to prepare and distribute five or
more kilograms of cocaine, pretending and knowing that cocaine would be illicitly
imported into the United States to help and incite with violation of Title 21, sections
812, 950, 952, 959, 960, and 963, Title 18 of the United States Code, offense for
which | was requested and surrendered in extradition and in accordance with the

aforementioned Treaty is the only crime for which | may be judged.

In the same sense Government Agreement number 92-2015 dated March 9, 2015,
Issued by the President of the Republic, and signed by the ministers confirm my
extradition and in its article 1. Deliver in extradition to the Government of the United
States of America to the Guatemalan ELIU LORENZANA CORDON and / or ELIO
ELIXANDER LORENZANA CORDON, previous written offer of the Government of the
United States of America, that the requested one will have all the rights and
guarantees that in accordance with the Constitution of that Nation correspond to him,
particularly that he will be considered innocent until he is found guilty, that his trial
will be totally impartial, that he will be provided with a lawyer for his defense, that
he will not be tried for different crimes for which his extradition is granted and that

his human and procedural rights.

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 4 of 15

To the tenor of the exposed ones: | refer that said precepts were not fulfilled to
thoroughness since | was judged under other parameters not requested in the

extradition.

2.- OF THE WITNESSES: If we place ourselves to the presented by the witnesses and
the fallacies that expose to the Jury, and in which they try to give me the quality of

leader of the Organization:

What is meant by leader? The word leader comes from the English leader. Leaders
are defined as people capable of guiding and influencing other people or groups of

people, which is also recognized as such.

understanding that Leader is the person who influences and makes decisions,
according to the statements of witnesses at no time can fit the behavior of Elio
Lorenzana Cordon, within the quality of Leader, as it does not influence or make
decisions and say the witnesses themselves at no time is the quality of leader and

understanding the

statements, the only one would be a person could be framed in a worker, someone
who receives orders and depends on the decisions of the main leaders of an

operation.
Honorable Judge you can locate these statements in statements made by:

OTTO HERRERA GARCIA: described below, which shows that my person was never the

leader of any criminal organization.
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 5of15

In relation to the alleged carrying of firearms mentioned by the Honorable Judge, |
am aware that these charges were resolved in my country, since a trial was held and
it was determined that | had no responsibility, this criminal cause is identified with
the number 302-99 and was known by the Court of First Instance of Retalhuleu, THIS
FACT WAS NEVER PLACED IN KNOWLEDGE OF THE JURY, which is why it would be that
IF THE JURY HAD DIRECT KNOWLEDGE THAT IN THIS CAUSE | WAS LIBERATED FROM
SUCH CHARGES AND DETERMINED MY INNOCENCE, HOW CAN BE JUDGED TWICE FOR
THE SAME FACT AND IS MORE INTENDED TO GIVE ME A WORSE PENALTY DUE TO THAT
CASE, THIS GIVES THE GUIDE THAT THE PROCESS WAS VIOLATED AND THAT SUCH CASE
SHOULD BE place of knowledge of the Jury, so that they had direct knowledge that
could have caused the statement made by them to vary, | do not want Honorable
Judge, to hinder the work that you do only, but | just want to have the opportunity to
provide all the means of proof that were not exposed to the jury and that due to the
confidence that one puts in the Lawyers who defend him, since |, | am not aware of
your laws, | trusted in my defense, and all the time they deceived me, | did not have

access to justice.

3.- As you can see Honorable Judge, in relation to VINICIO REYES SOSA, throughout the
trial was manifested by the Witnesses that sought the Lorenzana Family, for the fact
that VINICIO REYES SOSA, had been captured, and that that was the reason, that they

were looking for us:

| refer Honorable Judge, that the poured by the witnesses is false if you can observe

the declaration of BYRON LINARES CORDON: discharged with date:

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 6 of 15

FEBRUARY 25 DAY 8
Paging 48

Line 2 | received the money directly and sometimes | coordinated so that money

could be received in Mexico City.
Line 10 That money was handled by us in Guatemala City

Linea 12 Specifically we handled this money in Zone 14 in Guatemala City

Paging 49

Line 3 It was left’s call it the financial center of Otto Herrera’s organization it was

where the money was handled all the money was handled
Paging 50

line 13 Because most of my books had a ready them destroyed or shredded. By this

time, date. Mr. Otto Herrera had already moved to live Mexico.

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 7 of 15

Line 21 It was money that was coming from this profits from the cocaine, the drug
trafficking in the El Salvador operation and that was the drugs that were coming in

airplanes to Guatemala

Paging 60

Line 5, These house contained everything belonging to the Otto Herrera Organization,
and the consequences, that is when this happened was that the operations of the
cocaine trafficking ceased completely with the operations of the cocaine traffic of

the Otto Herrera Organization.
FEBRUARY 23 DIA 2
Paging 7

Line 3 In additions to the request that Mr. Herrera was making in terms of how the
organization would the run in the new Year—due the recent capture of---Vinicio Reyes

Sosa.
a comment was made that be was going to have his own storage house.
Paging 17

Line 2 Well, Mr. Herrera’s project or plan, given the capture of Mr. Vinicio Reyes was

to store the drugs in Izabal and go well them also in that same department.

Paging 18

Linea 3 We would have been talking about approximately the end of January, the

year 2000
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 8 of 15

FEBRUARY 25 Dia 4

paging 17 line 5 Now, what time period are we talking about Now?
Line 6 November of 1999

Paging 36 Linea 16 who had the Security?

Line 17 Otto Herrera

Line 18 Who was the leader present?

Line 19 Otto Herrera

Paging 54 Line 21 No, sir, not all of them. As | indicated before, at the end of the
2002, Otto Herrera moved to Mexico. And there were after looking through all the
book, many were destroyed with the authorization of Otto Herrera. And those books
have a clear notation as to the date, the person, the persons involved and the

amounts.

Paging 64 Linea 3 Yes, Your Honor, it is three one of them already die, passed away.
Line 7 Vinicio Reyes Sosa He’s the one that already passed away Enio Reyes Sosa
Line 12 | missed one of the names, counsel. And Irvin Reyes Sosa

Line 23 | can tell you, counsel, that this is an organization and the leader is Enio

Reyes Sosa, and we Knew him as Enano

Line 13 No, but they got mostly that which came in flights. Because these were one
of the people that got the entire shipment and Otto sold them the cocaine on credit.

But | remember that on a couple of occasions they got drugs sent to them from the

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 9 of 15

drug that arrived at La Reforma, and specifically to the warehouses of the Lorenzana-

Cordons.

Line 20 Where the Reyes Sosa Family from?
Line 21 From Guatemala

Line 22 Which of the brothers passed away?
Line 23 Vinicio

Line 24 When did he die?

| think it was in 2001, counsel.

FEBRUARY 23 day 3

Paging 16 Line 11 One was a Colombian supplier of drugs, Colombian. The other negro
was Ervin Reyes Sosa. He was sold only a few number of times, a small amount of
drugs. And regularly Otto would ask me to write those down under my name or to put
it under Officine, office. So then that organization, the Reyes Sosa Organization,
would be sold entire amounts of the shipment of drugs. And we wouldn’t—| would
write it down as negro as the buyer, but the name of his brother would appear

because he was in charge and the leader of he organization as Enano.

Line 23: It would be Ervin Reyes Sosa, the brother Enano Reyes Sosa, which is the

negro that had a connection to the organization.
Paging 26

Linea 14 This is some money that Otto Herrera lent to Vinicio Reyes Sosa

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 10 of 15

Paging 37 Line 20 This | cannot tell you for sure whether it is something that came by
air because this contract refers specifically to the organization of the Reyes Sosa

brothers.

Day 6 paging 108 a112

| refer that Mr. VINICIO REYES SOSA, was initiated a process against him, on January
twenty of the year two thousand but was captured in November of two thousand one
and released at the beginning of October two thousand and two, within the case
855-2000, later he died on October thirty-first of two thousand and two, according to
what the witnesses said, the Lorenzana Family was sought because this person had
been captured, but it is clear from the statements that the Head of the Organization
was ENIO REYES SOSA, therefore there was no reason to look for the Lorenzana
Family, if the Head of the Organization was free, THIS INFORMATION WAS NOT PUT ON
THE KNOWLEDGE OF THE JURY WHO DECLARED GUILTY TO ME AND WHO DEVIOUSLY
HAVE PROVIDED THESE INFORMATION THAT WAS VITAL SO THAT THEY COULD SEE THE

CREDIBILITY OF WITNESSES.

DECLARATION OF OTTO HERRERA GARCIA

Paging 35 Line 13 I’d say it must have been around 98
Paging 36 Linea 6 | think this was around 99

Paging 90
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 11 of 15

1.- Q. And what would you be setting the cocaine at if you were offered the

opportunity to sell the cocaine in the United States?

4.- A don't - it where’s the prices it depends on which area of the United States,

you Self it they all have afferent prices
7.- Q So, what of any opportunity was Mayo Zambada offering to you

9.- A He was proposing his stepson had a direct route into California and that | would

very welcome to use it if wanted to.

13.- Q. And what if anything did they express the Sinaloa Cartel about the reliability

of that route to California?
15.- A. It was very efficient

16.- Q. And how frequently did they indicate that kilos were moving across the

border into California?
18.- A. they were constantly being moved

19.- Q. What if anything did they express about the possibility of intediction of those

kilograms of cocaine?
21.- A. It was a most a sure shot that's what they said
22.- Q. I'm sorry

23.- A. It was almost a sure shot That means very efficient and also emphasized on
the high price of the cocaine in California as you Know in comparison with the price in

Guatemala.
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 12 of 15

Paging 95
1.- Q, And when you say risky just describe what you mean by risky

4.- A. There is always the task of going through the border and being inspected you

know it has to go through the border.

7.- Q. So, then I’d ask you if you have an understanding as to why this price of the

cocaine was higher in the United States?

9.- A Because of the cost it requires and the risk it takes to bring it into the United

States?

11.- Q. And were you yourself- did the Zambada describe at all the state of the

cocaine market in the United States?

13.- A. Yes, sir

14.- Q. What did they say?

15.- A. That it was a sure market and that it would it take long to self the cocaine

17.- Q. So, what if any conclusion did you reach about the quality of the ability to

move those kilograms of cocaine in the United States?
20.- A. That they could do it

21.- Q. So, what was your decision with regard to this offer which the Zambada

Offered to you?

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 13 of 15

23.- A. At that time i don't take it | had already had a bad experience with that
already | had the it before and | had lost my money and | had lost shipments, So I told

them that | was getting enough in Guatemala.
Paging 96
2.- Q. When you say you had a bad experience just describe what you mean by that

4.- A. | had pond in a couple of times a Colombian in a venture up to the United
States And the first occasion cocaine got stoke at the border between Mexico and the
United States the Second occasion the cocaine reached Dallas it was sold and them
the money was seized. We recovered the money and the money was seized on its way

down to Guatemala in Falfurrias Texas

11.- Q. Did you have in your dealings with the defendant’s strike Eliu Lorenzana-
Cordon and Waldemar Lorenzana Cordon did you pass on the offer or engage in an

investment opportunity strike that
Did you pass on the offer which the Zambada made to you to the Lorenzana-Cordons?

17.- A. Not really, | think it was in-- with regards of Waldemar Lorenzana Jr it was

the other way around

In these statements, Honorable Judge, you can see that the declarations made by
Otto Herrera Garcia in relation to the ones exposed in the questioning on page 95.96
states that Mayo Zambada offered to send Cocaine to the State of California, United
States of America, and that he denied this request because he had a problem and

refused to do it then, how it can be said that my person imported drugs into the

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 14 of 15

United States? If the one who was Head of the Organization refused to carry out the
act, the question Judge is what Paper intend to foist me, as to send drugs to the

United States, if the same Otto Herrera Garcia says he refused to that request.

As regard of what the Special Agent Stephen Fraga’s exposed before the Grand Jury
within the Sworn Statement in Support of the Extradition Request dated December 9,
2011, in paragraph 29 he states: FC1 He said that ELIU ELIXANDER LORENZANA
CORDON, and the accomplices Byron Linares, Otto Herrera Garcia, Haroldo Lorenzana
and Waldemar Lorenzana Jr, met in Guatemala, in approximately February 2004 to
talk about the confiscations of the previous year, and specifically, the fact that the
major books of Linares were between the documents confiscated in Zone 14 in

Guatemala City.

It is a completely false thing because, according to the witness Byron Linares, he was
detained in jail, due to this confiscation and the same witness indicates that Otto
Herrera, who was living in Mexico City since 2002, the declaration of the Special
Agent is false, as of the Witness Linares, which leads to the commission of the crime

of Perjury.
CONCLUSION:

For the above mentioned Judge, | request that a review of the cause exposed before
the Jury be carried out, and that it led to my being declared guilty, of actions that |
did not commit, in this sense, Judge, when carrying out a thorough analysis of what |
Expose you, and being that the JURY DID NOT HAVE EXACT KNOWLEDGE OF THE

EVIDENCE, since they were never exposed to their knowledge so | remain in a state of

 
Case 1:03-cr-00331-CKK Document 975-4 Filed 12/01/17 Page 15 of 15

defenselessness and in violation of a due process, which like every human being, |
have the right, that a NEW TRIAL be initiated, so that | can contribute and expose all
the evidence that was never known by the Jury, and that my Sacred Right to Freedom
is in Game, for which | request that you reconsider granting my freedom, and a new
Trial is made, so that the JURY CAN HAVE ACCESS AND FULL KNOWLEDGE OF ALL THE

LIES, which were elucidated in the trial.

ELIO LORENZANA.

 
